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                                I]NITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF ILLINOIS
                                       EASTERN DIVISION


  JEANETTE Y. SAMS



                                                         CNIL ACTION
(Name of the plaintiff or plaintiffs)

                  v.                                     No. 13 CV 7625

CITY OF CHICAGO POLICE DEPT.

BARBARA HEMMERLING
                                                                                    FKTffiM
                                                                                      MARI 2?014
(Name ofthe defendant or        defendants) )                                                            \
                                                                                THOMAS G. ERI,,ITilN
                                                                             CLERK, U.$. nt$fftleT {lfirlRT

      AMENDED COMPLAINT OF EMPLOYMENT DISCRIMINATION

 1.   This is an action for employment discrimination.

                       is                JEANETTE Y'          SAMS
 2.   The plaintiff                                                                             of the

 county   of     cooK                               in the state   of    ILLINOIS

 3.   The defendant     is   CITY OF CHICAGO POLICE DEPARTMENT                                  whose

 street address   is   3510 South Michigan Avenue

                                                                                      60652
 (.ity)-jhiggo-(county)              Cook          (state)    lllinois        (zrPl

 (Defendant's telephone       number) G14-        745-6100

 4.   The plaintiffsought employment or was employed bythe defendant at (street address)

          3510 South Michigan Avenue                               (city)- Jhiggg

      (county)                  (state)-l!!eE-   (ZIP code)-QQQS2
a
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    5.   The   plaintifflcheck one boxf

         (r)fl         was denied employment by the defendant.

         (b)m          was hired and is still employed by the defendant.

         t"lfl         was employd but is no longer employed bythe defendant.


    6,    The defendant discriminated against the plaintiffon or about, or beginning on or about,
         (*ontr,)-Ulx9x-,               (dafi   a         tv*rl_ 312-

    7.1     lChoose narapraoh 7.1 or 7.2. do not comolete both.\

                       (a) The defendant is not     a federal govemmental agency, and the      plaintiff   lcheck

                           one boxr  - llror.r,lfro^          filed   a charge or charges against the defendant


    asserting the acts of discrimination indicated in this complaint with any of the following

    govemment agencies:


             (i)       El *. United States Equal Employment Opporhrnity              Commission, on or about

                       (month) MARCH (day)_12__ (year\ 2O12

             (iD n          ,fr. fllinois Departrnent of Human Rights, on or about

                       (month)                      (dav)-            (vear)-.
         (b) If   charge s were   filed with an agency indicated above,   a copy   of the charge is

    attached.       El vgs. [ *o, but plaintiffwill             file a copy of the charge within L4 days.

    It is the policyof both the Equal Employment Opportunity Commission urd the Illinois
    Deparlment of Human Rights to cross-file with the other agency all charges received. The
    plaintiff has no reason to believe that this policy was not followed in this case.


    7.2        The defendant is a federal governmental agency, and

               (a) the plaintiffpreviously filed a Complaint of Employment Discrimination with the

               defendant asserting the acts of discrimination indicated in this court complaint.
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                   n       Yes (month)                           (day)_         (year)


                   tr      No, did not file Complaint of Employment Discrimination

     (b)     The plaintiffreceived a Final Agency Decision on (month)

             (da,                  (vear)

     (c)     Attached is a copy of the
                    --
             (i)   Complaint of Employment Discrimination,

                   D               fl    *o,butacopywillbefiledwithin         14days.
                         "ts
              (ii) Final Agency Decision


                   I ttt            fl   *o,   but a copy will be filed within 14 days.



8.   (Complete paragraph       I   only iJ'defendant is not afederal governmental agency.)


      (r)n         the United States Equal Employment Opportunity Commission has not issued


                   aNotice of Right to Sue.


      o)El         the United States Equal Employment Opportunity Commission has issued a


                   Notice of Right to Sue,which was received bythe plaintiffon
                   (month)JULY- @ai-27--(year) 2013                                a copy   ofwhich
                   Notice is attached to this complaint.



9.    The defendant discriminated against the plaintiff because of the plaintiff s lcheck only
      those that applyl:


      (u)f]    Age (Age Discrimination Employment Act).

      @)fl     Color (Title VII of the Civil Rights Act of 19@ ard42 U.S.C. $1981).
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      (.)El   Disability (Americans with Disabilities Act or Retrabilitation Act)

      (d)n    National Origin (Title Vtr of the Civil Rights Act    of   1964   and42 U.S.C. $1981).

      (")E]   Race (Title    VII of the Civil Rights Act of 1964 and 42 U.S.C. $1981).

      (0[     Refigion (Title VII of the Civil Rights Act of 1964)

      (df]     Sex (Title   VII ofthe civil Rights Act of   1964)


10.   If the defendant is a state, county, municipal (city, town or village) or other local
      governmental agency, plaintifffurther alleges discrimination on the basis of race, color,

      or national origin (42 U.S.C. $ 1983).
11.   Jurisdiction over the statutory violation alleged is conferred as follows: for Title    VII
      claims by 28 U.S.C.$1331,28 U.S.C.$1343(a)(3), and42 U.S.C.$2000e-5(0(3); for
      42 U.S.C.$1981 and $1983 by 42 U.S.C.$1988; forthe A.D.E.A. by42 U.S.C.$12117;

      for the Rehabilitation Act, 29 U.S.C. $ 791.


12.   The defendantlcheck only those that applyl


      (r)n       failed to hire the plaintiff.

      (b)[       terminated the plaintiff   s    employment.

      (.)[       failed to promote the plaintiff.

      (ol        failed to reasonably accommodate the plaintiff s religion.

      (")EI       failed to reasonably accommodate the plaintiff s disabilities.

      (0[         failed to stop harassment;

      erEl        retaliated against the plaintiffbecause the plaintiffdid something to assert
                  rights protected by the laws identified in paragraphs 9 and 10 above;

      (h)m       other (specift):Placed on a Leave despite a medical letter statins ability to work

       therefore no medical coverage nor income as a form of punishment.
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             Defendant knowingly placed plaintiff at risk for further medical problems with

             no income for daily needed life sustaining medicine, and the strong possibility

             of a major stroke causing death.




13.      The facts supporting the plaintiff s claim of discrimination are as follows:

                SEE ATTACHED




14.      IAGE DfSCMMINATION ONLYI Defendant knowingly, intentionally, and willfully
         discriminated against the plaintiff.

15.      The plaintiff demands that the case be tried   byajury.    El VeS fl      *O

16.       THEREFORE, the plaintiffasks that the court grant the following relief to the   plaintiff
       lcheck only those that applyl


      (")fl       Direct the defendant to hire the plaintiff.

      (b)[        Direct the defendant to re-employthe plaintiff.

      (")fI       Direct the defendant to promote the plaintiff.

      (0n         Direct the defendant to reasonably accommodate the plaintifPs religion.

      (")[        Direct the defendant to reasonably accommodate the plaintiffs disabilities.

      (OEI        Direct the defendant to   (specifu): PAY ALL BACK PAY AND MAKE
        WHOLE , FULL MEDICAL PENSION COVERAGE OR BENEFITS
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   (e)EI          If availablg grant the plaintiffappropriate injunctive relief, lost waps,
                  liquidated/double damages, front py, compensatory damages, punitive damages,
                  prejudgment interest, post-judgment interest, and costs, including reasonable
                  attorney fees and o(pert witness fees.

   ft)EI          Grant such other relief as the Court may find appropriate.



    (Plaintiff s signature)



    (Plaintiffs name)
 JEANETTE Y. SAMS

    (Plaintiff   s street address)

  7747 South Paxton Avenue




(city) chicaqo                       (state)-!lli!gi_(zP)_eoosz_

(Plaintiff   s tele,phone   number) (3121 -?11-8919



                                                              Date:24 October 2013
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                                 PARAGRAPH 13




RACE
ln March 2011, I requested a transfer to the Medical Section Unit, within the CPD because I have the
Education and skills to work within that unit. There were openings in that Unit at the time. Barbara
Hemmerling refused to allow me to work in this Unit and told me she didn't want me there. She then
proceeded to hire two white females who had less experience than I did. As a result of not being
allowed to work in the Medical Unit I was forced on leave and I did not receive any income or medical
insurance while on leave.




DISABILITY

A failure to Accommodate and the discrimination issue. I am disabled in that I have suffered several
strokes (CVA) and as a result I am permanently disabled. I am unable to work or live in a stressful
environment, without a strong possibility of another stroke. I have weakness on the left side, leg and
arm and other things. I requested an accommodation in that I work in the medical unit because there      I

would not work in a stressful environment and the medical unit was a less chaotic place with a one to
one ratio. I was denied the accommodation despite my skills and training and the fact that there were
openings in the unit. As a result lwas fraudulently placed on a personal leave then a medical leave
where I received no pay and no medical coverage by Barbara Hemmerling,
                         Case: 1:13-cv-07625 Document #: 23 Filed: 03/12/14 Page 8 of 21 PageID #:76
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                                                                                  Stato or local                                                                           Date ol Bi(h
                                                                                                                                  Home Pnone (ncl. Area Code)
 Name 1,'id,cate Mr      ' Ms.   L rs )
                                                                                                                                     (7?3) 731-6948                     08-15-1958
 Ms. Jeanette Y. Sams
                                                                                          Cily, State and ZIP Cooe
 Street Address

  7747 S. Paxton Ave., Chicago, lL 60649



                                                                                                                                   No EmploYess. Msmbcrs      Pnone No. (tnclude Arca Code)
  Name
                                                                                                                                    500 or More                  (312) 745-5300
  CHICAGO POLICE DEPARTMENT
                                                                                              City, Stale and ZIP Code
  Street Address

  3510 S. Michigan Ave., Chicago, lL 60652
                                                                                                                                                               Phone   No llnclude Area Code)



                                                                                              City, State and ZIP Code




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      employment, including, but not lim.ited to, oeing
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                                                                       rOai;ttoeoause-3fjIly.{s3bility' in violation
       of 1964, as amended. I also believe r rrave uien discrimin#l
       of tnJ Americans with Disabilities Act of 1990' as
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                  Case: 1:13-cv-07625 Document #: 23 Filed: 03/12/14 Page 9 of 21 PageID #:76

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                                                DrsnntssaL AND            Nonce or Rtcxrs
                                                                                     From: Chicago Dlstrict office
To:    Jeanette Y. $ams
                                                                                           500 West Madieon St
       7747 S. Paxton Ave.
                                                                                           Sulte 2000
       Chicago, lL 60649                                                                   Chlcago, lL 60661


                            An behalf of person(s) aggiaved whose identi| is
                            caNnDENTtAL (29 CFR S1 001.
                                                                                                                      Telephone No.
EEOC Charge No.                                EEOC Representative

                                               Jerry Zhang,
                                                                                                                      (312) 869-8029
 4/}0-2A12-02738                               lnvestlgator
                                                             REASON:
THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWNG
      tl          The facts alleged in the charge fail to state a claim under any of the statutes
                                                                                                  enforced by the EEOC'



      tf          Your allegations did not involve a disability as defined by the Americans
                                                                                            with,Disabilities Act',


      rl          The Respondent employs less than the required number of employees or is nol
                                                                                              otherwise covered by the statutes'


      tl          your charge was not timely filed with EEoc; in other words, you waited too long after the date(s) of the alleged
                  discrimination to file Your charge

      E           The EEOC issues the following determination: Based upon its investigation,
                  information obtained establishes violations of the statuter. rnis does
                                                                               might be
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                                                                                                      the EEOC is unable to conclude that the

                                                                                                     as
                                                                                                       that the respondent is in compliance with
                                                                                                         having been raised by this charge'
                  the statutes. No finding is made as to any otner isiues that

      tf          The EEOC has adopted the findings of the state or local fair employment
                                                                                          practices agency that investigated this charge'


      tf          Other (briefly state)


                                                         . NOTICE OF SUIT RIGHTS .
                                                   fsee fie additional information attached to this form')
                                                                                                         Act, or the Age
Tifle vll, the Americans wlth Disabilities Act, the Genetic lnformation Nondiscrlmination   your   right to sue that we will send you
Discrimination in rmpLvrn"nt Act: This *N b" in" onty notice of disrnissal and of                    federal or state court' Your
you may file a lawsuit against the respond"nii") do"i t"o"-.l' law based      on  this charge    in
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Equal pay Act (EpA): EpA suits must be fited in federal or state court
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before you file suit may not be collectible.




  Enclosures(s)                                                            n P. Rowe,


             Stephen Patton, Esq.
             Chief Assist.
             CITY OF CHICAGO DEPT OF LAW
             30 North LaSalle St.
             Room 1040
             Chicago,lL 60602
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             Case: 1:13-cv-07625 Document #: 23 Filed: 03/12/14 Page 13 of 21 PageID #:76
Clerk of thdCourt                                                  Scrl of Court

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Defindrnt's Namc: JEANETTE USAMS S'S' No'-                                 Care No.:Q!!.Sl!@!
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(J)       Subtract Employer's $tetutory Fw Qo/c of linc
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Room 6'02, Chtcago, IL 606@. To assure timcly processlng thc Answer ehould bc reccivbd ot leog thrcc dtysbelotc thc Court
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4. You wlll.rccelvc a aoDv bv fax or mall of a Court Ordc@                                        and where to send anv   withhcld     fun{q.

                                                          RESPONDENT CERTIFICATION
        Under the     penalties   rs  provided       by  law puriuant to Scction 1-109 of the Codc of Civil Procedure (735 ILCS 5/f '
109), the undersigned certillcs ihat the *t"t"."ot" set forth in this instrument rre tlto and correct and that I
                                                                                                                                    have elthe
,"iled or hand ailivepd , coly of thir completed InterrogatoriedAnswer                  to the Defendant.
                                                                                           A,
Date:               tgttr                                                                       City of Chieago-Garniahuent Unit
                                                                                                33 N. LeSalIe St. . Rm ?00
Signature of Employer/                                                                          Chicago, IL 60602
Print full name clemh:                                                                          3L2'7 U' 446lVPhone.312 -7 44.8407 {Faz


                     DOROTIIY BROWN, CLERK OF TIIE CIRCIIIT COT RT Otr'COOK
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    Case: 1:13-cv-07625 Document #: 23 Filed: 03/12/14 Page 14 of 21 PageID #:76

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                                                                        L 7'v E -
                                                                                               IL 60173
                                                                                Ahat*u*g'
                                                                                 Phone: (847) 537-1000
                                                                                  Far G47) 537-0959


                                                         01103/2014




L?flilf.ia$}xl,.
                                                 - JEANETTE   SAMS
                                          -VS'
Pc'                  Cavalry SPV ll' LLC'
Our Fite        #:
Case #:              "O'U',.r-M1-138643


EnclosedpleasefindaThirdPartycitationwhichwasfiledincourt.




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                   Case: 1:13-cv-07625 Document #: 23 Filed: 03/12/14 Page 15 of 21 PageID #:76


314253                                                                             TLLINOIS
                                           .. . TT{E
                                           IN        CIRCUIT COURT OF COOK COUNTY'
                                                -.MUNI.EAL
                                                                DEPARTMENT, FIRST DISTRICT
                                                                        )
CavahySPVU'Il"C,                                                              No.   13-M1-138643
                                                                         )
             Plaintiff'                                                  )
                              .   v.
                                                                         )
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             Defcodang
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TP    MORGAN CHASE BAI'IK
'               Thild   PattY ResPondcnq
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 Judgncnt Debtot's last knowu:

 Namo: JEAI{ETTE SAMS
    Address: 7747 SPA)(TON AVE
    City, CfnCnOO, IL 60649'41 13
    Phooe:
                                                                                  was enter'd      m 08/26/2013 in tlrc a,.ount of $3"219'M
                                                 LLr   snd again*t IEANETTE sAlus
    A iudgment in favor of cavarry spv n,
    ;il;;        aad $3,557.95 rmains unsatisficd

                                             Croditon
    Name aod addr*e of Attorrcy for Judgmcnt

    AttomeYNo.: 27053
    Thc ShindlerlawFirm
    t990    q   AigonquinRd. Ste. 180
    $chaumburg, lL 60173
    (847) s37-1000

    Name of person rcceiving citation: JP
                                          MORGAI{ CI{ASE BANK

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                              has issued a citation against
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Cavalry SPV II' IJ,C'.
                                                                                         )     No. l3.Ml'138643
        PlaintiJf,
                                  v.                                                     )
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JEAI.IETTBSAMS                                                                           )
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            Defeudant
                             BA}IK                                                       )      RETURNDATE:                        JJ
JP MORGAI{ CHASE
            Third PartY ResPoadent,                                                      )



 TOI JP MORGANCHASEBANIqAO CT' CORPORATION
                                                                                                       ffi                                814,,   cHIcAco, IL      60404.

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  Attoraoy for Plaintiff                                          Signaturc: .           ,'            .-   ,:                 :




  The Sbindlcr Law Firm
                                                                                Affi.FORPLAINTIFF
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  Sctraumburg;    IL 60173
  Telephone: (84?) 537'1000;           FAX
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               Case: 1:13-cv-07625 Document #: 23 Filed: 03/12/14 Page 17 of 21 PageID #:76



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                              law, the cxcmptions of personal property owned by the                 $e
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      1990 E. AlsonqubRd. Sts' 180
      i.i.r*u*l,uootrr I
      Telephoner (84?) 537'1000
      FAX: (847) 24r't220

                      rloRoTIIy BROWN' CLERK Or Tm
  Case: 1:13-cv-07625 Document #: 23 Filed: 03/12/14 Page 18 of 21 PageID #:76


                                                                        24 December 2010
Human Flesources Division
Medical Services Section

TO:          TraceY B. Ladner
             Director
             Human Resources Division

FROM:        William R. LooneY
             I nspector/Com manding Off
                                        icer
             Medical Services Section

suBJECT:      Fleinstatement Process, Medical clearance:

              Sams, Jeanette Y.                          Rank: Police Officer
              LOA: 14 Jul 2006                           Employee #: 30860
                                                         Star #: N/A

                                                     was provided with a physical
Pursuant to your request, the above-named Officer
                                                      for Reinstatement from a Leave of
examination on lrNov tb based on n"i"pprication
                                                        disclosed that the Officer is
Absence-personal Disability. The medicaievaluation
                                                             the office/s eligibility status
quarified to return to conriiescent ouiy stat s.. However,
                                            Division or the Human Resources Division'
has not been veritiJo-oy Glnirrnar Atfairs
                                                  scheduled by the Medical Services
Furthermore, Rangi-Oiraffication has not been
Section.


                                                  /f    rr^!*r^L4rytr
                                                  William R.   LooneY
                                                   I nspector/Com mand
                                                                       ing Off ice r
                                                   Medical Services Section




 CC:           Howard W. Lodding
               Assistant DePutY SuPerintendent
               Education and Training Division

               Virginia Garcia
               Manager of Police Personnel

               John J, Gallagher, Jr.
               Executive Director
               poti..r.n's Annuity and Benefit Fund
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              Case: 1:13-cv-07625 Document #: 23 Filed: 03/12/14 Page 19 of 21 PageID #:76




                                                    Chicago Police DePartment
                                                                                                          Date:    /a, f r0
                                                         Medical Services Section
                                                         3510 S. Michigan Avenue
                                                            Chicago, IL,60653
                                           Atttt Nursc: BeverlY Holowach
                                           Contact Number: 312 745-5114
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        Dear Doctor,




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                       officer can safely carry, handle and usa hls/her
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           other orrhopedic devrds (braces, op"n
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                                                       current   evaluation   of the Offtcer
                                       Based on your

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                 Tlris Officer meets the above criteria
                                                                                           V.ru, -No
                 Thisoff|cermeetstheabovecriteriabuthasmedtcallimltations.




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                offiCer cannot meet the above criteria at this time and cannot reJurn
           This


                   ptease list the   ,er*nt.iitrl-Oflo.rlannot    retum to duty at this time:




                            eiticago, IL 606?S




                    M,D. Signature

                    Date:
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Case: 1:13-cv-07625 Document #: 23 Filed: 03/12/14 Page 20 of 21 PageID #:76

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          rtlEDrclt{E $PEctAU$t$
 November 15,2010

 Chicago Police Department
 Medical Services
 Attn: Beverly Holowach, R.N.
 3570 South Michigan Avenue
 Chicago,IL 60653

 Re: Jeanette Sams
 Dear Ms. Holowach:

 We performed a Reinstatement physical examination of Jeanette Sams (8/15/1958) on
 November 15, 2010. The results of the medical examination have been reviewed. The
 examination included:

             Physical Examination by a Physician
             Health History
             Body Fat Composition
             Chemistry Screen Panel
             Serum HCG
             Rubella Screen
             Urinalysis
             Complete Vision Testing
             Tonometry Testing
             Chest X-ray-PA     & Lateral
             Pulmonary Function Testing
             Audiogram
             I   2-lead Electrocardiogram

Some results of the examination, on the date tested above, were outside normal
following areas:

Ms. Sams' spirometry reveals a moderate restrictive pattern. Full pulmonary function tests are
recommended. An exercise stress test was not performed in my office. Ms. Sams is only able to
undergo pharmacological stress tests. Her last documented adenosine stress test and myocardial
perfusion study, datedT/1412009, is a normal study. Ms. Sams is found to have a significantly
elevated serum LDL and total cholesterol. She has a slightly elevated serum LDH. She has
immunity to Hepatitis B and Rubella. The Hepatitis C antibody is nonreactive. She has
bloodtype O positive.

These deviations from normal limits do not relate to conditions that might place Ms. Sams at a
health or safety risk associated with her employment. Ms. Sams may work full duty, but she
should review these results rvith her physician or with our providers.

Sincelely,
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Fernando Manalac,     M.D.
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   chicogoclinic:614w.Monroe. chicago,tL6066t .312-25g-0100. Fax:312-2sg-0zos
O'HareClinic:4200N.Mannheim.SchillerparhtL60tZ6.g4|_gTt-St70.Fax:g4\_glt_5t76
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                  as-seen in my office on

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        Will be able to return to work/school   on ,z/"t g/t t
                Restrictions                          Light Work




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